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11 RICHIE MISHAL
12
13                              UNITED STATES DISTRICT COURT
14                            EASTERN DISTRICT OF CALIFORNIA
15
16
      UNITED STATES OF AMERICA,                       CR. No. 2:04-cr-00357-MCE
17
                            Plaintiff,                STIPULATION AND ORDER
18                                                    CONTINUING STATUS
                     vs.                              CONFERENCE RE:
19                                                    DEFENDANT RICHIE
      RICHIE MISHAL, et al.,                          MISHAL ONLY
20
                            Defendants.
21
22
23          IT IS HEREBY STIPULATED between the United States of America, through its attorney

24 of record, Carolyn Delaney, Assistant U.S. Attorney, and Riche Mishal, through his attorneys, David
25 W. Dratman and Hayes H. Gable, that the status conference scheduled for March 6, 2007 be
26 continued to March 27, 2007 at 8:30 a.m. for defendant Mishal only. (The other defendants will be
27 proceeding on separate schedules.)
28 ///
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 1          This matter continues to be complex within the meaning of the Speedy Trial Act due to the
 2 volume of discovery, complexity of factual and legal issues and the need for defense counsel to have
 3 additional time to prepare. The parties stipulate that the ends of justice are met by excluding time
 4 until March 27, 2007; and, that the need of this defendant for additional time to prepare exceeds the
 5 public interest in a trial within 70 days.
 6          This Court has previously determined that this case is complex. Due to this finding and due
 7 to the foregoing, the parties therefore, request that time continue to be tolled for Richie Mishal from
 8 March 6, 2007 to and including March 27, 2007, pursuant to:
 9 (1) Local Code T4 and Title 18, U.S.C., §3161(h)(8)(B)(iv)(preparation of counsel); and (2) Local
10 Code T2 and Title 18, U.S.C. § 3161(h)(8)(B)(ii)(due to case complexity).
11 Dated: March 1, 2007                                    /s/ David W. Dratman for
                                                           DAVID W. DRATMAN
12                                                         HAYES H. GABLE
                                                           Attorneys for Defendant
13                                                         RICHIE MISHAL
14
15 Dated: March 1, 2007                                    McGREGOR W. SCOTT
                                                           UNITED STATES ATTORNEY
16
17                                                         By: /s/ Carolyn Delaney*
                                                             CAROLYN DELANEY
18                                                           Assistant U.S. Attorney
                                                             *Signed with permission
19
20
21                                                ORDER
22          IT IS SO ORDERED.
23
      Dated: March 8, 2007
24
                                                   ________________________________
25                                                 MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE
26
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